Case 1:23-cv-00595-JPH-KMB           Document 55          Filed 06/02/23   Page 1 of 2 PageID #:
                                           3160



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 K.C., et al.,                                        )
                                                      )
                 Plaintiffs,                          )
                                                      )
         v.                                           )
                                                      )     Case No. 1:23-cv-00595-JPH-KMB
 THE INDIVIDUAL MEMBERS OF THE                        )
 MEDICAL LICENSING BOARD OF                           )
 INDIANA, in their official capacities, et al.,       )
                                                      )
                 Defendants.                          )


                  DEFENDANTS’ MOTION TO MAINTAIN UNDER SEAL
        Pursuant to Local Rule 5-11 and the stipulated protective order, Dkt. 39, defendants

respectfully request that the Court maintain under seal their Memorandum in Opposition to

Plaintiffs’ Motion for a Preliminary Injunction, Dkt. 54. The memorandum cites materials

provisionally filed under seal and contains information that plaintiffs may believe to be

confidential and designate as confidential under the stipulated protective order, including medical

details concerning the individual minor plaintiffs and information that could potentially identify

them. Defendants have not designated any information as confidential. Accordingly, pursuant to

the procedures in Local Rule 5-11(d)(2)(A) and (3), defendants request that the Court maintain the

memorandum under seal until further order of the Court and pending the filing by plaintiffs within

14 days of (1) a statement authorizing unsealing of documents or (2) a brief in support of sealing

and a redacted version of the memorandum.




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Case 1:23-cv-00595-JPH-KMB         Document 55       Filed 06/02/23    Page 2 of 2 PageID #:
                                         3161




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